Case 1:18-cv-05650-JBW-RER Document 63 Filed 01/15/19 Page 1 of 3 PageID #: 541

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 UNITES STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------X             CASE MANAGEMENT PLAN
  Allstate Insurance Company et al.,
                                                                      Docket Number: 1:18-cv-05650
                                                                                             (JBW) (RER)

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              &HNHPUZ[&
 Svetlana Khotenok et al.,

                                          7LMLUKHU[%
 &&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&&E
          DWVU JVUZLU[ VM [OL WHY[PLZ% P[ PZ OLYLI` ?A78A87 HZ MVSSV^Z3
 *'       7LMLUKHU[Z ZOHSS HUZ^LY VY V[OLY^PZL TV]L ^P[O YLZWLJ[ [V [OL JVTWSHPU[ I`                                   '
         Defendant Mirvis answered on 12/28/18. Defendants Absolute Chiropractic & Wellness, JJ&R Chiropractic and Gambino
         answered on 12/4/18. To the extent service is not complete on any other defendant, such defendant shall answer within
         21 days after being served with the summons and complaint unless there is a Court ordered extension.

 +'       >V HKKP[PVUHS WHY[PLZ TH` IL QVPULK HM[LY 2/21/2020
  ,'      >V HTLUKTLU[ VM [OL WSLHKPUNZ ^PSS IL WLYTP[[LK HM[LY 2/21/2020 '

 -'       7H[L MVY JVTWSL[PVU VM H\[VTH[PJ KPZJSVZ\YLZ YLX\PYLK I` A\SL +/"H#"*# VM [OL 9LKLYHS
          A\SLZ VM 6P]PS @YVJLK\YL% PM UV[ `L[ THKL3 2/14/2019 '
 .'       COL WHY[PLZ ZOHSS THRL YLX\PYLK A\SL +/"H#"+# KPZJSVZ\YLZ ^P[O YLZWLJ[ [V3
                   "H#      L_WLY[ ^P[ULZZLZ VU VY ILMVYL 3/23/2020       '
                   "I#      YLI\[[HS L_WLY[ ^P[ULZZLZ VU VY ILMVYL 4/23/2020                     '

 /'       5SS KPZJV]LY`% PUJS\KPUN KLWVZP[PVUZ VM L_WLY[Z% ZOHSS IL JVTWSL[LK VU VY ILMVYL
           6/21/2020           ";LULYHSS`% [OPZ KH[L T\Z[ IL UV SH[LY [OHU / TVU[OZ HM[LY [OL PUP[PHS
          JVUMLYLUJL#'
 0'       @YL&TV[PVU SL[[LYZ YLNHYKPUN WYVWVZLK KPZWVZP[P]L TV[PVUZ T\Z[ IL Z\ITP[[LK ^P[OPU V+'
          "## ^LLRZ MVSSV^PUN [OL JSVZL VM HSS KPZJV]LY` %+& .'/-,+/'/ %.' &1' ,+' 2'') *%0'."
 1'       7V [OL WHY[PLZ JVUZLU[ [V [YPHS ILMVYL H THNPZ[YH[L Q\KNL W\YZ\HU[ [V +1 D'B'6'a/,/"J#4
          "Answer no if any party declines to consent without indicating which party has
          declined'#
                                             FLZ              >V
Case 1:18-cv-05650-JBW-RER Document 63 Filed 01/15/19 Page 2 of 3 PageID #: 542


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  <M WHY[PLZ HUZ^LY `LZ% [OLU MPSS V\[ [OL AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil
  Action to a Magistrate Judge MVYT' COL MVYT JHU IL HJJLZZLK H[ [OL MVSSV^PUN SPUR3
  O[[W3((^^^'\ZJV\Y[Z'NV](\ZJV\Y[Z(9VYTZ5UK9LLZ(9VYTZ(5?)1.'WKM'


  2'     5 CLSLWOVUL 6VUMLYLUJL ZL[ MVY GGGGGGGGGGGGGGGGGGGGG% [V IL PUP[PH[LK I`
         $$$@SHPU[PMM    VY $$7LMLUKHU[ "6OLJR ?UL#'
                         $ "The Court will schedule the conference listed above'#
  *)'    B[H[\Z 6VUMLYLUJL ^PSS IL OLSK VU GGGGGGGGGGGGGGGGGGGGGGGGGGG'
                      $ "The Court will schedule the conference listed above#

  **' 5 9PUHS @YL&[YPHS 6VUMLYLUJL ^PSS IL OLSK VU GGGGGGGGGGGGGGGGGGGGGGG'
                        *(The Court will schedule the conference listed above.)

  COPZ ZJOLK\SPUN VYKLY TH` IL HS[LYLK VY HTLUKLK \WVU H ZOV^PUN VM NVVK JH\ZL UV[
  MVYLZLLHISL H[ [OL KH[L OLYLVM'
  Dated: Brooklyn, New York
  ________________________

                                                RAMON E. REYES, JR.
                                                UNITED STATES MAGISTRATE JUDGE

  6?>B8>C87 C?3                                 /s/ James McKenney
                                                >5=8
                                                5[[VYUL` MVY @SHPU[PMM!Allstate Insurance Company, et al.
                                                577A8BB 120 Broadway, Suite 1010
                                                8&THPS3 JMcKenney@morrisonmahoney.com
                                                CLS'3    (212) 825-1212
                                                9H_3     (212) 825-1313

                                                /s/ Gary Tsirelman
                                                >5=8
                                                5[[VYUL` MVY 7LMLUKHU[ Mark Mirvis
                                                577A8BB 129 Livingston Street, FL 2
                                                8&THPS3 gtsirelman@gtmdjd.com
                                                CLS'3    (718) 438-1200
                                                9H_3     (718) 438-8883
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                                            /s/ Eitan Nof
                                                                 s
                                           JJ&R Chiropractic P.C., Absolute Chiriopractic &
                                           Wellness P.C. and Joseph R. Gambino
